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1                               UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3     TYRONE MCDOUGALD,                                    Case No. 3:19-cv-00361-MMD-WGC
4                                             Plaintiff,                     ORDER
5            v.
6     JASON MCKENZIE,
7                                          Defendant.
8
9    I.     DISCUSSION

10          This action is a pro se civil rights complaint filed pursuant to 42 U.S.C. § 1983 by

11   an individual who has been released from the custody of the Nevada Department of

12   Corrections. Plaintiff submitted an application to proceed in forma pauperis for prisoners.

13   (ECF No. 1). The Court now directs Plaintiff to file an application to proceed in forma

14   pauperis by a non-prisoner within thirty (30) days from the date of this order or pay the

15   full filing fee of $400. The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1),

16   but will not file it until the matter of the payment of the filing fee is resolved.

17   II.    CONCLUSION

18          For the foregoing reasons, IT IS ORDERED that Plaintiff’s application to proceed

19   in forma pauperis for prisoners (ECF No. 1) is DENIED as moot.

20          IT IS FURTHER ORDERED that the Clerk of the Court WILL SEND Plaintiff the

21   approved form application to proceed in forma pauperis by a non-prisoner, as well as the

22   document entitled information and instructions for filing an in forma pauperis application.

23          IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,

24   Plaintiff will either: (1) file a fully complete application to proceed in forma pauperis for

25   non-prisoners; or (2) pay the full filing fee of $400.

26          IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,

27   dismissal of this action may result.

28   ///
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            IT IS FURTHER ORDERED that the Clerk of the Court will retain the complaint
2
     (ECF No. 1-1), but will not file it at this time.
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            DATED: April 20, 2020.
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                                                  UNITED STATES MAGISTRATE JUDGE
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